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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

FORD MOTOR CREDIT COMPANY LLC,               §
     Plaintiff,                              §
                                             §
v.                                           §
                                             §      Civil Action No.: 5:18-cv-00186
BART REAGOR AND RICK DYKES,                  §
     Defendants.                             §

               FORD MOTOR CREDIT COMPANY LLC’S REPLY BRIEF IN
                 SUPPORT OF MOTION FOR SUMMARY JUDGMENT


                                             Respectfully submitted,

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                                  PRELIMINARY STATEMENT

        Bart Reagor and Rick Dykes (“Defendants”) admit signing absolute and unconditional

guaranties to pay Ford Motor Credit Company LLC (“Ford Credit”) the debts it is owed by the

now-bankrupt Reagor-Dykes dealerships (the “Dealerships”).              The Dealerships, meanwhile,

admit to owing Ford Credit at least $109,091,460.95 after a massive fraud that occurred on

Defendants’ watch. Ford Credit’s summary judgment evidence, Defendants’ admissions that

they signed such guaranties (waiving any defenses and “all set-offs and counterclaims”), and the

Dealerships’ admissions compel summary judgement in Ford Credit’s favor.

        Unable to demonstrate the existence of a genuine issue of material fact, Defendants

responded to this motion with conjecture, speculation, and innuendo, which is not based on

admissible or reliable evidence – and is patently incapable of raising a triable fact issue. The

same holds true for Defendants’ unpleaded “affirmative defense” and plea for delay.

        This Court should grant Ford Credit’s Motion in its entirety, and enter judgment against

Defendants for $112,041,555.36, plus contractual interest from August 1, 2018 until the

judgment is paid in full, as well as attorneys’ fees.

                               ARGUMENTS AND AUTHORITIES

        The Court should grant this motion because Defendants’ response relies exclusively on

“[c]onclusory statements, speculation, and unsubstantiated assertions,” which “are not specific

facts and are not sufficient to defeat a motion for summary judgment.” See GoldCrown Props.,

Inc. v. Mut. of Omaha Bank, 3:17-CV-527-C, 2018 WL 7247385, at *2 (N.D. Tex. Dec. 28,

2018) (Cummings, S.J.).1


1
        To defeat Ford Credit’s motion, Defendants needed to raise a fact issue on the: (1) existence and
ownership of the guaranties; (2) guaranties’ terms; (3) occurrence of the conditions upon which
Defendants’ liability is based; or (4) Defendants’ failure to perform. See Jani-King Franchising, Inc. v.
Jani-King (GB) Ltd., 3:13-CV-4136 B, 2017 WL 4758673, at *3 (N.D. Tex. Oct. 17, 2017) (Boyle, J.).
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         A.      Ford Credit Established It Is Entitled To Summary Judgment.

        Defendants have not and cannot refute Ford Credit’s summary judgment evidence. That

evidence includes Defendants’ crystal clear admissions that the Dealerships defaulted by, among

other acts, reporting false financial information to Ford Credit, not repaying amounts owed, and

filing for bankruptcy. See Dkt. 21 at ¶¶ 3, 14, 21, 185, 188 (Dykes’s Answer); Dkt. 23 at ¶ 3

(Reagor’s Answer); Dkt. 33 at ¶ 14 (Defendants’ Rule 56(d) Brief).2 Each act constituted a

default under the Dealerships’ Wholesale Agreements.                See Dkt. 30 (referenced herein as

“APP”), Ex. B at ¶ 9 (default events include failure to “promptly pay any amount now or

hereafter owing to Ford Credit,” “any representation made by Dealer to Ford Credit shall prove

to have been false or misleading in any material respect,” or “a proceeding in bankruptcy,

insolvency or receivership shall be instituted by or against Dealer”). Defendants also admitted

the underlying Wholesale Agreements were executed by the Dealerships and do not dispute that

these are events of default. See Dkt. 21 at ¶¶ 25, 48, 66, 110, 129, 146; Dkt. 23 at ¶¶ 25, 48, 66,

110, 129, 146.

        Ford Credit, however, also submitted the sworn Rule 2004 examination of Dealership

accountant Tim Conner, who unequivocally testified that the Dealerships double-floored at least

185 vehicles. APP 434 (“the last count, to my recollection, was 185”). Ford Credit also

submitted the Dealerships’ bankruptcy schedules, which establish that, as of October 19, 2018,



The Court need not reach the first or fourth elements because Defendants do not challenge either.
Compare Dkt. 40, with Dkt. 29 at 17-20, 22-25 (establishing existence and ownership of guaranties), and
id. at 26 (establishing Defendants have not paid). While Defendants dispute the second element, in part,
they also concede it, in part. Dkt. 40 at 21 (“Reagor and Dykes should be discharged of the guarantees, at
least with respect to the out of the [sic] trust sales”) (emphasis added). Defendants do not dispute that, at
a minimum, the bankruptcy filings triggered the Dealerships’ defaults and, thus, Defendants’ guaranty
obligations. Thus, the Court need not analyze the third element, either. See Dkt. 29 at 11, 13, 18, 21, 26.
2
         Although Reagor initially denied that the Dealerships “provided Ford Credit with false and/or
incorrect information” (Dkt. 23 at ¶ 178), he now admits that the Dealerships’ CFO provided false
financial information to Ford Credit. Dkt. 33 at ¶ 14. Dykes admits this, too. Id.; see Dkt. 21 at ¶ 14.


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they owe Ford Credit at least $109,091,460.95. APP 206-404. This additional evidence – which

Defendants ignore – confirms the Dealerships’ defaults.

        Accordingly, Ford Credit established the defaults that give rise to Defendants’ liability,

and Defendants have not (and cannot) raise a triable issue of fact as to such defaults.

        B.      Defendants’ Submissions Do Not Defeat Ford Credit’s Motion.

        Because Defendants cannot refute this evidence, they try to challenge Ford Credit’s

submissions by: (1) selectively quoting Leal’s Rule 2004 examination, to imply he lacked

involvement with the Dealerships; and (2) ignoring the four-month gap between his examination

and declaration. Dkt. 40 at 11. Defendants’ attacks on Leal’s declaration are both misplaced and

contradicted by the record.

        The record demonstrates that Leal is competent to testify as to the matters set forth in his

declaration. See Dkt. 41, RD APP 077 at 26 (“I basically on a daily basis have been on the

phone with the folks that we have at each of the stores attempting to continue to secure our

collateral”); APP 2 at ¶ 3 (Leal’s declaration is based on “review of certain records of Ford

Credit,” “dealings with the . . . Dealerships,” and “involvement with the effort to address the

status situation resulting from the defaults”).3 Defendants’ requests to exclude parts of Leal’s

declaration, which support the third element of Ford Credit’s claim: occurrence of the conditions

upon which Defendants’ liability is based, lack merit. Dkt. 40 at 10-13 (arguing ¶¶ 31-46 lack

3
        The cases cited by Defendants in support of their arguments concerning the Leal declaration are
also inapposite. See Dkt. 40 at 11 (citing Thomas v. Atmos Energy Corp., 223 F. App’x 369 (5th Cir.
2007); Cormier v. Pennzoil Expl. & Prod. Co., 969 F.2d 1559 (5th Cir. 1992); Burton v. Banta Global
Turnkey Ltd., 170 F. App’x 918 (5th Cir. 2006); Gibson v. Liberty Mut. Grp., 129 F. App’x. 94 (5th Cir.
2005)). Thomas and Cormier analyze affidavits attesting to hearsay – but Leal recites no facts based on
hearsay. While Burton barred testimony of procedures the witness did not know about, the court
recognized the witness’s competency to testify on business procedures she observed. Gibson involved an
individual’s entirely self-serving assertions about legal conclusions and hearsay without foundation or
bases in documentary evidence. Here, Leal based his testimony on: (1) documentary evidence;
(2) processes and procedures that knows about because of his job; and (3) his involvement in Ford
Credit’s investigation and efforts to secure its collateral.


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personal knowledge); id. at 14 (arguing ¶¶ 42-43, and 46 contain legal conclusions). Indeed,

Leal is competent to testify as to, and based on, Ford Credit’s documentary evidence, because

that evidence consists of records kept in its regular course of business. See APP 2 at ¶ 4; Fed. R.

Evid. 803(6); Fed. R. Civ. P. 56(c); Braden v. Allstate Vehicle and Prop. Ins. Co., 4:18-CV-

00592-O, 2019 WL 201942, at *3-4 (N.D. Tex. Jan. 15, 2019) (O’Connor, J.) (affidavit

demonstrated exhibits’ admissibility as business records); BP Expl. & Prod. Inc. v. Cashman

Equip. Corp., Civ. A. No. H-13-3046, 2016 WL 1387907, at *10 (S.D. Tex. Apr. 8, 2016)

(party-employees can testify based on records kept in ordinary course of business); Texas A&M

Research v. Magna Transp., Inc., 338 F.3d 394, 402 (5th Cir. 2003) (affidavit admissible when

district court “could [have] reasonably concluded that, as vice-president . . . [affiant] had

personal knowledge” as to “some of the statements in the affidavit” even without knowledge of

all facts). Here, Leal also specifically averred that he learned of the applicable facts: (1) by

reviewing records Ford Credit kept in its ordinary course of business; and (2) because of his job

duties as Financial Services Manager. See APP 2 at ¶¶ 2-3; DirectTV, Inc. v. Budden, 420 F.3d

521, 529–30, n.40 (5th Cir. 2005) (affiant could testify about facts “that he had personal

knowledge of . . . and that he had access to[,] and [that he] had reviewed [his] company’s records

as they pertain[ed] to information contained in the affidavits”).

       And, contrary to Defendants’ mischaracterization of the record (Dkt. 40 at 8), Ford Credit

does not rely “solely” on Leal’s declaration to show the occurrence of the conditions upon which

liability is based. Instead, as demonstrated above and in its motion, Ford Credit relies on

unchallenged documentary evidence establishing Defendants’ obligations, the Dealerships’ (and

Defendants’) failure to pay amounts owed, Defendants’ admissions concerning the same, as well

as testimony and admissions by the Dealerships and their employees that conclusively establish




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multiple defaults. See Section A, supra. Defendants also cannot dispute that: (1) filing for

bankruptcy automatically triggers defaults; (2) the Dealerships filed for bankruptcy (and thus

defaulted); and (3) the Defendants guarantied the Dealerships’ obligations upon default.

         C.      Defendants Cannot Re-Write the Terms of Their Guaranties.

        Defendants also try – but fail – to create a material fact issue by asking this Court to read

terms into unambiguous contracts, under the guise of their unpleaded “material alteration”

affirmative defense.4 Dkt. 40 at 15 (citing Austin Hardwoods, Inc. v. Vanden Berghe, 917

S.W.2d 320, 326 (Tex. App.–El Paso 1995, no writ) (“material alteration is an affirmative

defense”)). The crux of Defendants’ unpleaded defense is that Ford Credit can only enforce

guaranties as to the Dealerships’ “secured” obligations. Id. But the record defies this argument

– the guaranties contain no such limitation. See APP 21-22, 25-26, 35-36, 45-46, 100-04, 106-

10, 118-19, 131-32, 141-42, 145-46; Dkt. 36 at 18.

        Instead, Defendants’ continuing guaranties contemplated a future course of dealing

between Ford Credit (as lender) and Defendants (as debtors), and were intended to cover

accruing liabilities. Cf. Beal Bank, SSB v. Biggers, 227 S.W.3d 187, 192 (Tex. App.–Houston

[1st Dist.] 2007, no pet.) (guarantors not liable on loan increases when guaranty limited liability

to original amount and they did not agree to increase liabilities); with Vaughn v. DAP Fin. Serv.,

Inc., 982 S.W.2d 1, 5 (Tex. App.–Houston [1st Dist.] 1997, no pet.) (“a continuing guaranty . . .

contemplates a future course of dealing between the lender and the debtor, and is intended to

apply to other liabilities as they accrue”).           Defendants’ guaranties unambiguously and

unconditionally: (a) guarantied the Dealerships’ “present and future obligations to [Ford Credit]


4
        Because Defendants failed to plead this affirmative defense, the Court need not, and should not,
consider it. See Barnard Constr. Co., Inc. v. City of Lubbock, Tex., Civ. A. No. 5:03-CV-269 C, 2004
WL 2173403, at *13 (N.D. Tex. Sept. 24, 2004) (Cummings, S.J.) (failure to raise affirmative defense in
answer amounted to waiver, and precluded defendant from raising it for first time on summary judgment).


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arising out of or in connection with [Ford Credit’s] financing for the [Dealerships]” and

(b) required Defendants to satisfy “all” of the Dealerships’ obligations. APP Exs. B, E, G, R, T,

V (emphasis added).

       Because, under the plain and clear text of the agreements and guaranties, no distinction

exists between “secured,” “unsecured,” or other obligation owed to Ford Credit, Defendants

cannot demonstrate a material fact issue on the affirmative defense that the underlying wholesale

financing agreements have been altered. See Austin, 917 S.W.2d at 326 (“the elements of the

[affirmative] defense are threefold: (1) a material alteration of the underlying contract; (2) made

without his consent; and (3) which is to his detriment (i.e., is prejudicial to his interest)”).

Incurring more debt does not amount to a material alteration. See id. (no material alteration

when plaintiff exceeded original credit terms on an open account under which amount of credit

would be determined in the future). Because Defendants were: (1) “obligated to pay all of [the

Dealerships’] debts” before the alleged modification; and (2) remain “obligated exactly to that

same extent” after the alleged modification, they cannot claim prejudice or injury. See Allied

Van Lines, Inc. v. Aaron Transfer & Storage, Inc., No. 402-CV-497Y, 2003 WL 22056220, at *7

(N.D. Tex. Sept. 3, 2003) (Means, J.).

       Defendants’ “material alteration” defense also fails because they explicitly waived

modification-based defenses. See APP Exs. C-D, F, H, P-Q, S, U, W-X (entitling Ford Credit to

“renew, extend, modify or transfer any obligations of [the Dealerships] . . . without affecting or

impairing the obligation of [Defendants]”) (emphasis added).            Those waivers preclude

Defendants from limiting their guaranties based upon their unpleaded “material alteration”

defense. See NationsBank of Texas v. Oliver Transp. Inc., 140 F.3d 1038, 1038 (5th Cir. 1998)

(guarantor could not raise material alteration defense for conduct he explicitly waived).




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        Moreover, the plain language of Defendants’ waivers extended to all defenses –

modification-based or otherwise. Specifically, Defendants waived all defenses, setoffs, and

counterclaims. See Dkt. 36 at 14-17. For example, Defendants’ Capital Loan guaranties waived

“all other rights and defenses the assertion or exercise of which would in any way diminish” their

liability to Ford Credit. Dkt. 11, Ex. X at ¶ 2(c). Those guaranties (and accompanying waivers)

were later tied together with all of Defendants’ other guaranties.5 See id., Ex. W at ¶ 5; see Dkt.

36 at 14-16. Defendants’ comprehensive, interlocking waivers of affirmative defenses are clear,

unambiguous, valid, and enforceable. See, e.g., Hometown 2006-1 1925 Valley View, L.L.C. v.

Prime Income Asset Mgmt., L.L.C., 595 F. App’x. 306, 310 (5th Cir. 2014) (applying Texas law)

(enforcing clear and specific waivers against guarantors – even all-encompassing ones).

        Defendants attempt to bolster their unpleaded “material alteration” defense by once again

making reckless and baseless statements to the Court regarding Ford Credit’s employee, Gary

Byrd. Defendants seek to somehow tie Mr. Byrd to the admitted fraud committed by the

Dealerships’ CFO, Shane Smith – and this time (again without any proof) suggest that Ford

Credit cannot recover against them because Mr. Byrd allegedly did not communicate with them,

individually and directly, concerning certain audit results. Defendants stoop to this argument


5
         Defendants admit to executing that agreement. Dkt. 21 at 30; Dkt. 23 at 31. It provides: “[a]s a
condition of the financing evidenced on Schedule A, Lender has required that each of the Loans be cross-
defaulted and cross-collateralized with each other Loan[.]” Id. It defines “Loans” as “each of the Loans
as listed in Schedule A.” Id. Schedule A lists seven specific loans but contains an extremely broad catch-
all provision extending to “any and all other loans now or hereafter outstanding made by Lender to any
Obligor, and any and all extensions, increases, amendments, renewals, and modifications of the
foregoing.” Id. (emphasis added). It also defines “Obligations” as “[a]ny and all of the covenants,
promises and other obligations . . . made or owing by the Obligors and others to or due to Lender under
the . . . documents evidencing the Loans.” Id. (emphasis added) (excepting “Indebtedness,” which is
defined as “[t]he principal of and interest on all payments . . . due under the Loans and all of indebtedness
of each Obligor to Lender under . . . the Security Documents”). In that agreement, Defendants waived all
“defense[s], claim[s], charge[s], plea[s] or set-off[s] . . . against the Lender, the Guaranty, [that
Agreement] or any other instrument or document executed by Each Obligor in connection with the
Guaranty or this Agreement.” Id. (emphasis added). The Agreement’s broad, interrelated definitions
confirm the parties intended to tie all agreements together and that Defendants waived all defenses.


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despite admitting that: (a) Ford Credit communicated with Defendants’ CFO, whom Defendants

personally selected to run their Dealerships (and to whom they turned over full financial control)

(see Dkt. 41 at A0107); and (b) Defendants personally promised Ford Credit that Defendants

assumed “full responsibility for keeping fully informed with respect to the business, operation,

condition and assets” of the Dealerships. See APP 101, ¶ 2(d). This is further evidence that

Defendants will stop at nothing, including directing false representations and innuendo toward a

Ford Credit employee, to try to buy more time or improperly muddle the record. This Court

should not reward such conduct.6

        In sum, Defendants’ unpleaded and unsupported “material alteration” defense lacks

merit, has been waived, and does not raise a fact issue on liability.

         D.      Ford Credit Satisfied Its Summary Judgment Burden as to Damages.

        Contrary to Defendants’ remaining arguments, Ford Credit’s summary judgment

evidence meets its burden of establishing the damages that Defendants owe. Thus, no basis

exists for delaying summary judgment on those damages.

        In support of its motion, Ford Credit submitted: (1) the Dealerships’ admissions that they

owed at least $109,091,460.95, as of October 19, 2018; and (2) Leal’s sworn declaration stating

the amounts each dealership owed as of August 1, 2018, together with the pre- and post-default

interest rates, and the expenses (exclusive of attorneys’ fees) that Ford Credit has so far incurred.

APP 206-404 (Dealerships’ admissions); id. at 10-12 (Leal’s declaration).

6
         To the extent Defendants also try to support their unpleaded “material alteration” defense with an
affidavit submitted by Dykes, that affidavit is both speculative and inherently unreliable and self-serving.
Dykes claims that he had “no day-to-day management role” in the Dealerships (Dkt. 41 at A0106), yet
speculates that Mr. Byrd “knew or should have known” of the fraud being committed by the Dealerships
(see id. at A0109). Dykes tries to substantiate this rank speculation by supposedly “quoting” a
conversation with Mr. Byrd (after Ford Credit discovered the fraud) – that Dykes has never before
mentioned in any other submission or forum - which speaks volumes about its reliability and veracity.
And, regardless, Dykes’s speculation about what Ford Credit “knew or should have known” does not, and
cannot, raise a triable fact issue. See GoldCrown, 2018 WL 7247385 at *2.


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        Defendants cannot escape the Dealerships’ admissions. The Dealerships executed their

bankruptcy schedules under penalty of perjury and those schedules “are eligible for treatment as

judicial admissions.” Wells Fargo Bank, N.A. v. Pitre, Civ. A. No. 3:17-CV-3177-N (BT), 2018

WL 4574998, at *3 (N.D. Tex. Sept. 6, 2018), adopted by 2018 WL 4566145, at *1 (Sept. 24,

2018) (Godbey, J.). Defendants cannot dispute that they are equally liable for the Dealerships’

wholesale financing obligations to Ford Credit. Dkt. 36 at 15 (citing Defendants’ agreements to

joint, several, and unconditional guaranties).         The Dealerships’ admissions constitute

uncontroverted evidence of the damages that Ford Credit is entitled to recover from Defendants.

Defendants ask this Court to disregard those admissions – because the Dealerships may in the

future dispute amounts owed to Ford Credit – yet Defendants offer no evidence that the

Dealerships have: (1) amended their sworn bankruptcy schedules; or (2) objected to Ford Credit’s

proofs-of-claim. See Case No. 18-50214-rlj11 (Bankr. N.D. Tex. Aug. 1, 2018) (Jones, J.).

        Finally, contrary to Defendants’ argument, Ford Credit established the damages it is

entitled to recover, and Defendants have not refuted that proof. The guaranties unambiguously

require Defendants to repay all of the Dealerships’ obligations to Ford Credit, including interest,

costs, expenses and attorneys’ fees. See APP Exs. C-D, F, H, P-Q, S, U, W-X. This motion

readily identifies such obligations (except attorneys’ fees). Nothing more is required. See Stark

Master Fund, Civ. A. No. 3:08-CV-1497-P, 2010 WL 11618653, at *8 (N.D. Tex. Mar. 31,

2010) (Solis, J.) (awarding amount owed based on accounting records and documents evidencing

amount due under guaranty); Redus TX Props., LLC v. Gray, Civ. A. No. H-10-4602, 2012 WL

1327787, at *2 (S.D. Tex. Apr. 17, 2012) (awarding amount owed based on declaration from

company vice-president detailing principal and interest owed, and fees and expenses).7


7
       Defendants’ reliance on PNC Bank is misplaced. See PNC Bank, NA v. BHMDF, Ltd., No. 3:15-
cv-0765-M, 2016 WL 5942226, at *4 (N.D. Tex. Oct. 12, 2016) (Lynn, C.J.). PNC rejected the bank’s


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         E.      The Court Should Reject Defendants’ Attempts to Delay.

        Even though this Court determined that Defendants “failed to show good cause” to delay

ruling on this motion, Defendants again seek delay – based upon nearly the same arguments this

Court already rejected. Dkt. 39 at 1 (denying Defendants’ Rule 56(d) Motion); Dkt. 40 at 29

(Motion); Dkt. 36 at 6, 18-19 (Response). Defendants’ latest request for delay fails for the same

reasons. See Dkt. 36 at 6, 19.

        Ford Credit’s ability to recover is rapidly fading as Defendants face no restrictions on

asset liquidation. Dkt. 36 at 18-19.8 The guaranties’ plain text does not require Ford Credit to

stand idly by, or to “collect or otherwise liquidate any obligation or security” (APP 21), before it

can obtain judgment against Defendants. See also APP at 25, 35, 45, 100, 106-110, 118, 131,

141, 145. Not even the impending liquidation of Ford Credit’s collateral presents a basis to delay

judgment in its favor. See Smith v. Cnty. Nat’l Bank, 344 S.W.3d 561, 564 (Tex. App.–Eastland

2011, pet. denied) (if “guaranty agreement so provides, a lender need not liquidate its collateral

before obtaining judgment against a guarantor.”); FDIC v. Coleman, 795 S.W.2d 706, 707-710

(Tex. 1990).9

                                           CONCLUSION

        For the reasons set out above, and in its initial brief, Ford Credit requests that the Court

enter summary judgment in its favor as to both liability and damages, and set a schedule for Ford

Credit to submit proof regarding its attorneys’ fees.




explanation for interest and late fees. See id. Here, Ford Credit set forth the applicable interest rates
together with its incurred expenses. Defendants offer no evidence refuting either item of damages.
8
        Indeed, Mr. Dykes sold a property worth an estimated $1.7 million dollars while this motion has
been pending. See Deed, filed in Lubbock County, February 14, 2019, Instrument No. 2019005254.
9
        Proceeds from collateral liquidation in the Dealerships’ bankruptcy proceedings, and any other
payments against the total outstanding debt, will result in a credit against the judgment entered in this
action. See Dkt. 36 at 15. A judgment for Ford Credit can require it to credit such proceeds accordingly.


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Respectfully submitted,                   And

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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 8, 2019, a copy of the foregoing Reply Brief in Support of
Motion for Summary Judgment was filed electronically. Notice of this filing will be sent by
operation of the Court’s electronic filing system to all parties indicated on the electronic filing
receipt. All other parties will be served by regular U.S. mail. Parties may access this filing
through the Court’s electronic filing system.




                                                       /s/ Michael S. Goldberg
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